      Case 20-62468-sms               Doc 16 Filed 06/18/20 Entered 06/18/20 08:20:45                                Desc Ntc.
                                            Proof of Claim Page 1 of 1
                                        UNITED STATES BANKRUPTCY COURT

                                                  Northern District of Georgia


In     Debtor(s)
Re:    Wondalyn Shante Bailey                                        Case No.: 20−62468−sms
       233 Long Drive                                                Chapter: 7
       McDonough, GA 30253                                           Judge: Sage M. Sigler

       xxx−xx−7241



                                            NOTICE SETTING DEADLINE FOR
                                              FILING PROOFS OF CLAIM

     You were previously notified that the schedules of the Debtor(s) disclosed no assets available for distribution to
creditors. The Trustee now reports that funds may be available for distribution.

     Therefore, you are hereby notified that, if you wish to participate in any distribution which may be paid from the
estate, you must file a proof of claim on or before:



                                            Non−government proof of claim: 9/16/20




                                              Government proof of claim: 09/16/20


                                              File with:
                                              United States Bankruptcy Court
                                              1340 United States Courthouse
                                              75 Ted Turner Drive SW
                                              Atlanta, GA 30303


Use Official Form B410 to file a claim. To file electronically visit www.ganb.uscourts.gov and access the ePOC tab. To obtain a claim form
                                      (B410) visit www.ganb.uscourts.gov and access the Forms tab.

                       If you have already filed your proof of claim, it is not necessary to refile.




                                                                                            M. Regina Thomas
                                                                                            Clerk of Court
                                                                                            U.S. Bankruptcy Court
Dated: June 18, 2020
Form ntcpoc
